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AO 399 (01/09) Waiver of the Service of Summons


                                      UNITED STATESr. DISTRICT
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                                                         Eastern District of Arkansas           [3                         SEP 1 0 2019
                   Patricia Walker-8winton                                )
                            Plaintiff                                     )
                                 v.                                       )      Civil Action No. 4:18-cv-00886
                   Roderick Smothers, Sr.                                 )
                            Defendant                                     )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Teresa Bloodman
         (Name ofthe plaintijfs attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represen~ agree to save the expense of serving a summons and complaint in this case.
         I understand that I, or the entity I represen~ will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                09/11/2019            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date: - - - - - - - -
                                                                                            Signature ofthe attorney or unrepresented party

                 ... ~oderick Smothe~, ~r-______
       Printed name ofparty waiving service ofsummons                                                         Printed name




                                                                                                                 Address


                                                                                                             E-mail address


                                                                                                           Telephone number

                                          Duty to Avoid Umaeceuary Espenses of Serving a Sammons

          Rule 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service. unless the defendant shows good cause for the failure.
          "Good cause" does not include a belief that the lawsuit is groundJess. or that it has been brought in an improper venue. or that the court has
no jurisdiction over this matter or over the defendant or the defendant•s property.
        If the waiver is signed and returned. you can still make these and all other defenses and objections. but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must. within the time specified on the waiver form. serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form. you are allowed more time to respond than if a summons bad been served.
